IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
EASTERN (DUBUQUE) DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

vs. Case No. 22-CR-10389

JACOB PATRICK DEMAIO and CODI
LYN DEMAIO,

Defendants.

LOCAL CRIMINAL RULE 7 STATEMENT

Pursuant to Local Criminal Rule 7, the United States respectfully submits
the following brief statement describing the differences between the original

indictment and the superseding indictment:

Count 1: Count 1 is updated to include a new defendant, CODI LYN

DEMAIO.

Forfeiture Allegation: Paragraph 1 of the Forfeiture Allegation is

updated to include a citation to 21 United States Code, Section 846. In
addition, Paragraph 2(c) is updated to specify the firearm as a Baikal

pistol by Imez, caliber 9 x 18 mm Makarov.

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Respectfully submitted,

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